      Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 1 of 34



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

RICHARD REISSIG AND                               §
CAROL REISSIG                                     §
                                                  §
VS.                                               §           C.A. NO.: 4:19-cv-03938
                                                  §                 (JURY)
STATE FARM LLOYDS                                 §

             DEFENDANT STATE FARM LLOYDS’ NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       STATE FARM LLOYDS (“State Farm”), Defendant in the above-styled and numbered

cause, files this Notice of Removal of the present case from the 152nd Judicial District Court of

Harris County, Texas to the United States District Court for the Southern District of Texas,

Houston Division. In connection with this Notice of Removal, State Farm would respectfully

show the Court as follows:

                                         I.
                               PROCEDURAL BACKGROUND

        1.     On August 30, 2019, Plaintiffs filed this action against State Farm in the 152nd

Judicial District Court of Harris County, Texas. The state cause number is 2019-61939 (“State

Court Action”). State Farm was served on September 16, 2019. State Farm filed its answer on

October 4, 2019. Plaintiffs do not state a monetary relief in Plaintiffs’ Original Petition (“Original

Petition”). However, the amount in controversy in this lawsuit exceeds the sum or value of

$75,000.00, exclusive of interest and costs, as required under section 1332(a). Removal is proper

because State Farm can prove by a preponderance of the evidence that the amount in controversy

exceeds $75,000. See 28 U.S.C. § 1332(c)(2)(B) (“removal of a civil action is sought on the basis

of the jurisdiction conferred by section 1332(a), the sum demanded in good faith in the initial
      Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 2 of 34



pleading shall be deemed to be the amount in controversy, except that removal of the action is

proper on the basis of an amount in controversy asserted under subparagraph (A) if the district

court finds, by the preponderance of the evidence, that the amount in controversy exceeds the

amount specified in section 1332(a)”); De Aguilar v. Boeing Co., 47 F.3d 1404, 1412 (5th Cir.

1995) (holding “the plaintiff’s claim remains presumptively correct unless the defendant can show

by a preponderance of the evidence that the amount in controversy is greater than the jurisdictional

amount.”).

        2.     In accordance 28 U.S.C. § 1446, State Farm files this Notice of Removal to remove

the State Court Action from the 152nd Judicial District Court of Harris County, Texas to the United

States District Court for the Southern District of Texas, Houston Division.

                                            II.
                                       NATURE OF SUIT

       3.      Plaintiffs filed this lawsuit alleging State Farm failed to pay insurance benefits

owed to them in accordance with their insurance policy for damage to their home and other

property caused by water. (See Pls.’ Original Pet. at 2–3.) Plaintiffs assert causes of action for

breach of contract and for violations of Chapters 541 and 542 of the Texas Insurance Code,

violations of the Texas Deceptive Trade Practices Act, and breach of the common law duty of

good faith and fair dealing. (Id. at 7–12.) Directly relevant to this Notice of Removal, Plaintiffs

expressly seek to recover the following damages in this lawsuit.

       (a)     The cost to repair Plaintiffs’ home;

       (b)     The amount of Plaintiffs’ insurance claim, plus the statutory penalty on that;

       (c)     Treble damages under the Texas DTPA;

       (d)     Additional damages under Section 541 of the Texas Insurance Code;

       (e)     Exemplary damages; and
      Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 3 of 34



       (f)     Attorneys’ fees.

(Id. at 12–14.) As addressed in further detail below, State Farm now timely files this Removal

because there is complete diversity of citizenship between the parties, and the alleged damages,

listed above, exceed the jurisdictional limits of this Court.

                                              III.
                                      BASIS OF REMOVAL

       4.      The Southern District of Texas has jurisdiction over this action, pursuant to 28

U.S.C § 1441 and 28 U.S.C. § 1332, because the parties are diverse and the amount in controversy

exceeds $75,000, exclusive of interests and costs.

       5.      First, the parties are diverse. At all relevant times, Plaintiffs were, and continue to

be, Texas citizens. (See Pls.’ Original Pet. at 2.) State Farm is an association of individual

underwriters authorized to conduct business in Texas as a Lloyd’s plan insurer, which is defined

and set out in Chapter 941 of the Texas Insurance Code. The citizenship of an unincorporated

association is determined by the citizenship of each member of the entity, not by the state where

the entity is organized. Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 882–83 (5th Cir.

1993) (finding that a Lloyd’s plan association was not a Texas citizen); see also Griggs v. State

Farm Lloyds, 181 F.3d 694, 698 (5th Cir. 1999) (finding that State Farm Lloyds is a citizen of

Illinois). At all relevant times, State Farm was, and continues to be, an unincorporated insurance

association whose underwriters were, and still are, citizens of states other than Texas. (See Aff. of

Michael Roper attached hereto.) Accordingly, State Farm is not a citizen of the State of Texas.

       6.      Second, Plaintiffs seek to recover damages for State Farm’s denial and/or

underpayment of their claim. (See Pls.’ Original Pet. at 7–8.) Plaintiffs contend that the cost to

repair the alleged damages covered under the policy is $37,148.78. (See Exhibit A at 1); see also,

e.g., Lanfreth v. Allstate Tex. Lloyd’s, No. C-09-254, 2009 WL 3756902, at *3 n. 1 (collecting
      Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 4 of 34



cases in the Fifth Circuit to explain that “[c]ourts have consistently looked to demand letters

particularly pre-suit demand letters, as evidence of the amount in controversy.”). In addition,

Plaintiffs seek treble damages under section 17.50(b)(1) of the Texas DTPA as well as the Texas

Insurance Code, which must be included when calculating the amount in controversy. (See Pls.’

Original Pet. at 13); Cano v. Peninsula Island Resort & Spa, LLC, No. 1:09–121, 2010 WL

1790722, at *3 (S.D. Tex. May 4, 2010) (“punitive and treble damages such as those pled in this

case may be considered when computing the amount in controversy”). Three times the amount of

Plaintiffs’ alleged actual damages noted in Exhibit A amounts to more than $75,000. In Plaintiffs’

pre-suit demand letter they indicate their damages are $154,146.36. (See Ex. A at 9.)

       7.      The amount in controversy is further compounded if, as required, any of the

following damages alleged in Plaintiffs’ Petition are included in calculating the amount in

controversy: (a) statutory penalty on Plaintiffs’ insurance claim under Section 542 of the Texas

Insurance Code; (b) attorneys’ fees; (c) treble damages under section 541 of the Texas Insurance

Code and/or DTPA; and (d) exemplary damages. In light of the foregoing evidence, it is

indisputable that the amount in controversy in this case exceeds $75,000. See Whitmire v. Bank

One, N.A., No. Civ. A. H–05–3732, 2005 WL 3465726, at *3 (S.D. Tex. Dec. 16, 2005) (economic

damages of $15,370.50, together with unspecified mental anguish, treble damages, and attorney’s

fees, revealed an amount in controversy over $75,000). As such, Plaintiffs cannot show that they

are legally certain that the recovery will not exceed $75,000. See De Aguilar, 47 F.3d at 1411 (“we

hold that if a defendant can show that the amount in controversy actually exceeds the jurisdictional

amount, the plaintiff must be able to show that, as a matter of law, it is certain that he will not be

able to recover more than the damages for which he has prayed in the state court complaint.”).
      Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 5 of 34



                                          IV.
                                  REMOVAL PROCEDURES

       7.      On August 30, 2019, Plaintiffs filed this case against State Farm in the 152nd

Judicial District Court of Harris County, Texas. State Farm was served on September 16, 2019.

State Farm filed its Answer on October 4, 2019. This Notice of Removal is being timely filed on

October 10, 2019. Accordingly, this Notice of Removal is timely filed within 30 days of when

State Farm received service and within one year from the commencement of this suit. See 28

U.S.C. § 1446(b)(1); 28 U.S.C. § 1446(c)(1).

       8.      The Houston Division of the Southern District of Texas is the proper venue

because: (1) Plaintiffs’ property, which was allegedly damaged by water and which forms the basis

of Plaintiffs’ lawsuit, is located in Harris County, 28 U.S.C. § 1391(b)(2), and (2) Plaintiffs’ State

Court Action was brought, and is pending, in Harris County. See 28 U.S.C. § 1441(a). Harris

County is within the jurisdictional limits of the Houston Division. See 28 U.S.C. § 124(b)(2).

       9.      All information and documents required by 28 U.S.C. § 1446(a) and by Local Rule

81 to be filed with this Notice of Removal are attached and indexed in Exhibit A. In addition,

pursuant to 28 U.S.C. § 1446 (d), a copy of this Notice of Removal will be promptly filed with the

Harris County District Clerk’s Office and served on the Plaintiffs.

       10.     A jury fee was paid in state court and Defendant hereby requests a jury trial in this

cause of action.

                                               V.
                                             PRAYER

       11.     State Farm respectfully requests that the above-styled action now pending in the

152nd Judicial District Court of Harris County, Texas, be removed to this Honorable Court

pursuant to the Court’s diversity jurisdiction, that upon final trial, judgment be rendered for State
      Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 6 of 34



Farm and against Plaintiffs, that State Farm recover its costs, and for such other and further relief

to which State Farm may be justly entitled.

                                              Respectfully submitted,

                                              GERMER PLLC

                                              By:_____________________________
                                                    DALE M. “RETT” HOLIDY
                                                    Federal Bar No. 21382
                                                    State Bar No. 00792937
                                                    America Tower
                                                    2929 Allen Parkway, Suite 2900
                                                    Houston, Texas 77019
                                                    (713) 650-1313 – Telephone
                                                    (713) 739-7420 – Facsimile
                                                    rholidy@germer.com

                                              ATTORNEY FOR DEFENDANT,
                                              STATE FARM LLOYDS

OF COUNSEL:
GERMER PLLC
Lauren N. Herrera
Federal Bar No. 3174150
State Bar No. 24092720
America Tower
2929 Allen Parkway, Suite 2900
Houston, Texas 77019
(713) 650-1313 - Telephone
(713) 739-7420 - Facsimile
lherrera@germer.com
     Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 7 of 34



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument was
forwarded to all known counsel pursuant to the Federal Rules of Civil Procedure on this the 10th
day of October, 2019.

       Joe M. Williams                                                   VIA CM/ECF
       THE LAW OFFICES OF JOE M. WILLIAMS
       133 N. Friendswood Drive, Suite 152
       Friendswood, Texas 77546
       jwilliams10050@gmail.com




                                                           DALE M. “RETT” HOLIDY
      Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 8 of 34



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

RICHARD REISSIG AND                              §
CAROL REISSIG                                    §
                                                 §
VS.                                              §          C.A. NO.: 4:19-cv-03938
                                                 §                (JURY)
STATE FARM LLOYDS                                §

                           AFFIDAVIT OF MICHAEL ROPER

       This day appeared before me, the undersigned authority, MICHAEL ROPER, who after
being duly sworn, deposed and stated as follows:

       1.      "My name is Michael Roper. I am over the age of 18, I have never been
convicted of a felony or crime involving moral turpitude, and I am otherwise competent to
make this affidavit.

        2.     I am an Assistant Secretary - Treasurer of State Farm Lloyds, Inc. ("Lloyds,
Inc."), attorney-in-fact for State Farm Lloyds. I am also the Assistant Vice-President -
Accounting for State Farm Mutual Automobile Insurance Company ("State Farm Mutual").
My address is One State Farm Plaza, Bloomington, Illinois 61710-0001.

         3.      As part of my job duties for State Farm Mutual, I oversee the department that
maintains the books and records u s e d t o prepare and file the Annual Statements and similar
filings for State Farm Mutual and each of its property and casualty insurance subsidiaries and
affiliates, including State Farm Lloyds.

       4.     State Farm Lloyds is an association of individual underwriters authorized to
conduct business in Texas as a Lloyd's plan insurer as defined and set out in Chapter 941 of the
Texas Insurance Code.

       5.      As a Lloyd's plan insurer, State Farm Lloyds has designated an attorney-in-fact
as provided under Texas law. Lloyds Inc., a Texas business corporation, is the attorney-in-fact
in Texas for State Farm Lloyds and, as such, Lloyds Inc. is the agent of State Farm Lloyds.

        6.     As an officer of these State Farm companies, I have knowledge of their
respective directors, principal officers or underwriters, the type of entity each is, and other
similar information. I have firsthand knowledge of the statements in this Affidavit pursuant to
my duties in the above positions and they are true and correct.

       7.       On March 19, 2018 the Texas Department of Insurance notified State Farm
Lloyds that its Amended Articles of Agreement dated February 1, 2018 had been placed on file
and that its records had been updated to reflect the following changes to the underwriters:



                                                1
     Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 9 of 34



Katinka Meijerink Bryson replaced Shyama Nichelle Terry, Wensley John Herbert replaced
Jon Charles Farney, Kimberly Ann Sterling replaced Jack W. Watts, Jr. and Michael James
Arnold replaced Kevin Harper McKay. The underwriters following the changes made by the
Amended Articles of Agreement are listed below:

         Angela Kaye Sparks: Ms. Sparks maintains her residence and full time place
          of employment in Illinois and she has expressed an intent to remain in Illinois
          while an Underwriter of State Farm Lloyds.

         Annette Romero Martinez: Ms. Martinez maintains her residence and full
          time place of employment in Illinois and she has expressed an intent to remain
          in Illinois while an Underwriter of State Farm Lloyds.

         Mark Edward Schwamberger: Mr. Schwamberger maintains his residence
          and full time place of employment in Illinois and he has expressed an intent to
          remain in Illinois while an Underwriter of State Farm Lloyds.

         Wensley John Herbert: Mr. Herbert maintains his residence and full time
          place of employment in Illinois and he has expressed an intent to remain in
          Illinois while an Underwriter of State Farm Lloyds.

         Katinka Meijerink Bryson: Ms. Bryson maintains her residence and full time
          place of employment in Illinois and she has expressed an intent to remain in
          Illinois while an Underwriter of State Farm Lloyds.

         Michael James Arnold: Mr. Arnold maintains his residence and full time
          place of employment in Illinois and he has expressed an intent to remain in
          Illinois while an Underwriter of State Farm Lloyds.

         Kenneth Edward Heidrich: Mr. Heidrich maintains his residence and full time
          place of employment in Illinois and he has expressed an intent to remain in
          Illinois while an Underwriter of State Farm Lloyds.

         Kathleen Mary Pechan: Ms. Pechan maintains her residence and full time
          place of employment in Illinois and she has expressed an intent to remain in
          Illinois while an Underwriter of State Farm Lloyds.

         Patricia Elizabeth Roark: Ms. Roark maintains her residence and full time
          place of employment in Illinois and she has expressed an intent to remain in
          Illinois while an Underwriter of State Farm Lloyds.

         Laurette Catherine Stiles: Ms. Stiles is domiciled in Illinois. Her residence
          and full time place of employment is in Illinois and she has expressed an
          intent to remain in Illinois while an Underwriter of State Farm Lloyds.

         Kimberly Ann Sterling: Ms. Sterling is domiciled in Illinois. Her residence


                                              2
     Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 10 of 34



            and full time place of employment is in Illinois and she has expressed an
            intent to remain in Illinois while an Underwriter of State Farm Lloyds.

       •    Robert Hun Sang Yi: Mr. Yi is domiciled in Illinois. His residence and full
            time place of employment is in Illinois and he has expressed an intent to
            remain in Illinois while an Underwriter of State Farm Lloyds.

        8.     At all times since the March 19, 2018 acceptance of the latest Amended Articles
of Agreement by the Texas Department of Insurance, the above named underwriters have had
their residences and full time places of employment in the State of Illinois.




       lUBSCRIBED TO AND SWORN TO before me, the undersigned authority on this
the 3 r. day of October 2019

                OFl!ICIAL SEAL
               KAREN HAMILTON                    Notary Public for the State of Illinois
        NOTARY PUBLIC· STATE OF ILLINOIS
        My Commission Expires January 07, 2022




                                                    3
     Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 11 of 34




                                 EXHIBIT A
                          LIST OF ATTORNEYS/PARTIES

1.    Joe M. Williams
      jwilliams10050@gmail.com
      THE LAW OFFICES OF JOE M. WILLIAMS
      133 N. Friendswood Drive, Suite 152
      Friendswood, Texas 77546
      Telephone: (281) 923-3000
      Facsimile: (832) 827-4306
      jwilliams10050@gmail.com
      Attorneys for Plaintiffs

2.    Dale M. “Rett” Holidy
      rholidy@germer.com
      Lauren N. Herrera
      lherrera@germer.com
      GERMER PLLC
      America Tower
      2929 Allen Parkway, Suite 2900
      Houston, Texas 77019
      Telephone: (713) 650-1313
      Facsimile: (713) 739-7420
      Attorneys for Defendant


                          INDEX OF DOCUMENTS FILED
                            WITH REMOVAL ACTION

     RICHARD REISSIG AND CAROLYN REISSIG VS. STATE FARM LLOYDS

            (a)    Plaintiffs’ Original Petition
            (b)    Return Citation
            (c)    Defendant State Farm Lloyds’ Original Answer
            (e)    Docket Sheet
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 12 of 34


                                                                                                  8/3012019 11:48 AM
                                                                        Marilyn Burgess - District Clerk Harris County
                                                                                             Envelope No. 36428927
                        2019-61939 / Courta 152                                               By: Miaeda Hutchinson
                                                                                          Filed: 8/30/2019 11:48 AM



                               CAUSE NO.

 RICHARD REISSIG                                   §        IN THE DISTRICT COURT
 AND                                               §
 CAROLYN REISSIG                                   §
 Plaintiffs                                        §
                                                   §
                                                   fi
  V.                                               §               JUDICIAL COURT
                                                   §
 STATE FARM LLOYDS                                 §
 Defendant                                         §        HARRIS COUNTY, TEXAS


       PLAINTIF'F'S ORIGfNAL PETITION WITH DiSCOVERY ATTACHED

 TO THE HONORABLE JUDGE OF SAID COURT:

        NOW Comes Richard Reissig and Carolyn Reissig, hereinafter referred to as

 "Plaintiffs", complaining of Defendant, State Farm Lloyds, hereinafter collectively

 referred to as "State Fann" or "Defendant," and liereby respectfully shows unto the Court

 and Jury as follows:

                               I. DISCOVERY CONTROL PLAN

        Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190 of the

 Texas Rules of Civil Procedure. This case involves complex issues and will reduire

 extensive discovery. Therefore, Plaintiff asks the Court to order that discovery be

 conducted in accordance witli a discovery control plan tailored to the particular

 circumstances of this suit.




                                           Page 1 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 13 of 34




                                          II.. PARTIES

         Plaintiff, Richard Reissig, is an individual and resident of Texas.

         Plaintiff Barbara Reissig, is an individual and resident of Texas.

         Defendant, State Farm lloyds, is on information and belief a domestic insurance

  company licensed to conduct insurance business in Texas with its home city and state in

  Addison, Texas. It can be served with citation by serving its registered agent for service,

  Corporaton Service Company at 211 E. 711' Street, Austin, Texas 78701-3218.

                             III. JIJRISDICTION AND VEN><TE

         This Court has Jurisdiction over this case in that the amount in controversy

  exceeds the minimum jurisdictional limits of this Court.

         Venue is mandatory and proper in Harris County, Texas, because all or a

  substantial part of the events giving rise to the lawsuit occurred in this county (see Tex.

  Civ. Prac. & Rem. Code §15.002) and the insured property that is the basis of this lawsuit

  is located in Harris County, Texas. See TEX. INS. CODE § 2210.552 (see below).

                              IV. CONDITIONS PRECEDENT '

         All conditions precedent to recovery have been performed, waived, or have

  occurred.

                                            V. FACTS

  A.     Plaintiffs are the owners of insurance Policy Number 53EAY2225 issued by the

         Defendant (hereinafter referred to as the "Policy").

  B.     Plaintiffs own the insured property which is specifically located at 19915 Kellicreek

         Drive, Katy, Texas 77450 (hereinafter referred to as the "Property").

  C.     Defendant or its agent sold the Policy, insuring tlie Property, to Plaintiffs.




                                            Page 2 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 14 of 34




  D.   On or about August 30, 2019, Hurricane Charlie struck Harris County and the

       surrounding gulf coast region of Texas causing severe damage to homes and

       businesses throughout the area, including Plaintiffs' residecitial Property.

  E.   Plaintiffs submitted a claim to Defendant against the Policy for roof damage, inteior

       damage and resulting water damage the Property sustained as a result of Hurricane

       Cliaarlie. Plaintiffs asked that Defendant cover the cost of repairs to the Property

       pursuant to the PoGcy and any otlier available cover•ages under the Policy.

  F.   Defendant has assigned claim number 53-1292-W4 to Plaintiffs' claim.

  G.   Defendant assigned an adjuster to adjust the claim, and an adjuster for State Fann

       inspected Plaintiffs' home on September 22, 2017.

  H.   State Farm estimated tiie damage to Plaintiff's property to repair was $4,285.46.

       Plaintiffs' deductible was $2,447.00. State Farm then deducted an additional

       $1,319.97 for depreciation, determining that Plaintiffs were owed $518.49.

  I.   Despite detennining that policy benefits of $518.29 were owed under the policy to

       the Plaintiffs, State Farm did not issue payment for said amount until November 6,

       2017.

  J.   Plaintiffs were not satisfied with State Farm's estimate or how State Farm arrived at

       the damage amount for Plaintiffs' property. State Farm's estimate provided that

       there was damage to the laminate floors in Plaintiff's kitchen, yet State Farm's

       estimate provided for replacing only a small portion of the laminate, which is not

       possible.




                                         Page 31 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 15 of 34




 K.    Plaintiffs retained the services of a contractor to conduct an estimate of the damages

       to their home. Plaintiffs' contractor detennined that the damage to Plaintiffs'

       property was $37,148.78.

 L.    Defendant's adjuster and Defendant failed to properly adjust the claims and

       Defendant has denied at least a portion of the claims without an adequate

       investigation, event though the Policy provided coverage for losses sucli as those

       suffered by Plaintiffs.

 M.    Plaintiffs' claim(s) still remain unpaid and the Plaintiffs still have not been able to

       pi•operly repair the Property.

 N.    Defendant failed to perform its contractual duty to adeduately compensate Plainti.ffs

       under the temns of the Policy. Specifically, Defendant failed and refused to pay the

       full proceeds of the Policy, although due demand was made for proceeds to be paid

       in an amount sufficient to cover the damaged Property and all conditions precedent

       to recovery upon the Policy had been camed out and accoinplished by Plaintiffs.

       Defendant's conduct constitutes a breach of the insurance contract between

       Defendant and Plairltiffs.

 O.    Defendant misrepresented to Plaintiffs that the damage to the Property was not

       covered under the Policy, even tliough the damage was. caused by a covered

       occurrence. Defendant's conduct constitutes a violation of the Texas Insurance

       Code, Unfair Settlement Practices. TEX. INS, CODE Section 541.060(a)(1).

 P.    Defendant failed to make an attempt to settle Plaintiffs' claim in a fair manner,

       although it was aware of its liability to Plaintiffs under the Policy. Defendant's




                                         Page 4 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 16 of 34




       conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

       Practices. TEX. INS. CODE Section 541.060 (a)(2)(A).

  Q.   Defendant failed to explain to Plaintiffs the reasons for its offer of aii inadequate

       settlement. Specifically, Defendant failed to offer Plaintiffs adequate compensation,

       without any explanation why full payment was not being made. Furthermore,

       Defendant did not communicate that any future settlements or payments would be

       forthcoming to pay for the entire losses covered under the Policy, nor did it provide

       any explanation for the failure to adequately settle Plaintiffs' claim. TEX. INS.

        CODE Section 541.060(a)(3).

  R.   Defendant failed to affirm or deny coverage of Plaintiffs' claim within a reasonable

        time. Specifically, Plaiiitiffs did not receive timely indication of a.cceptance or

        rejection, regarding the full and entire claim, in writing from Defendant.

        Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE Section 541.060(a)(4).

  S.    Defendant refused to fully compensate Plaintiffs, under the terms of the Policy, even

        though Defendant failed to conduct a reasonable investigation. Specifically,

        Defendant performed an outcome-oriented investigation of Plaintiffs' claim, which

        resulted in a biased, unfair and inequitable evaluation of Plaintiffs' losses to the

        Property. Defendant's conduct constitutes a violation of the Texas Insurance Code,

        Unfair Settlement Practices. TEX. INS. CODE Section 541.060 (a)(7).

  T.    Defendant failed to meet its obligations under the Texas Insurance Code i-ejarding

        timely acknowledging Plaintiffs' claim, begi nning an investigation of Plaintiffs'

        claim and recluesting all infonnation reasonably necessary to investigate Plaintiffs'




                                         Page 5 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 17 of 34




       claim within the statutorily mandated deadline. Defendant's conduct coiistitutes

       violation of the Texas Insurance Code, Prompt Payment of Claims, TEX. INS,

       CODE Section 542.055.

  U.   Defendant failed to accept or deny Plaintiffs' full and entire claim within the

       statutory mandated deadline of receiving all necessary information. Defeildant's

       coiiduct constitutes violation of the Texas Insurance Code, Prompt Payment of

       Claims. TEX 1NS. CODE Section 542.056.

  V.   Defendant failed to meet its obligations under the Texas Insurance Code regarding

       payment of claim without delay. Specifically, Defendant lhas delayed full payment

       of Plaintiffs' claim longer than allowed and, to date, Plaintiffs have not yet received

       full payment for tlieir claim. Defendant's conduct constitutes violation of the Texas

       Insurance Code, Prompt Payment of Clairns, TEX. iNS. CODE Section 542.058.

  W.   From and after the time Plaintiffs' claim was presented to Defendant, the liability of

       Defendant to pay the ftill claim in accordance with the terms of the Policy was

        reasonably clear. However, Defendant has refused to pay Plaintiffs in full, despite

        there being no basis whatsoever on which a reasonable insurance company would

        have relied to deny the full payment. Defendant's conduct constitutes a breach of

        the common law duty of good faith and fair dealing.

  X.    As a result of Defendant's wrongful acts and omissions, Plaintiffs were forced to

        retain the profession services of the attorney and law firm who is representing

        Plaintiffs with respect to these causes of action.

  Y.    Plaintiffs' experience is not an isolated case. The acts and omissions of Defeiidant

        committed in this case, or similar acts and omissions, occur with such frequency that




                                           Page 6 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 18 of 34




         they constitute a general business practice of Defendwit with regard to handling

         these types of claims. Defendant's entire process is unfairly designed to reacli

         favorable outcomes for the company at the expense of the policyliolder.

                               Vl. THEORIES OF L1AB11 dTY
  A. Cause of Action for Breach of Contr:ect

         Plaintiffs realleges and incorporates by reference all previous and subsequent

  paragraplis herein.

         According to the Insurance Policy that Plaintiffs purclhased, Defendant lias the

  duty to investigate and pay Plaintiffs' policy benefits for claims made for covered

  damages, including additional benefits under the Policy, resulting from Hurricane Ike.

  As a result of Hurricane Ike and/or ensuinu0 losses from Hurricane Ike, both of which are

  covered perils under the Policy, Plaintiffs' home and personal Property have been

  damaged. .

         Defendant's failure and refusal, as described above, to pay the adequate

  compensation as it is obligated to do under the terms of the Policy in question and under

  the laws of the State of Texas, constitutes a breach of Defendant's contract with

  Plaintiffs. As a result of this breach of contract, Plaintiffs have suffered the damages that

  are described in this petition.

  B. Cause of Action for Violation of Section 542

          Plaintiffs realleges and incorporates by reference all previous and subsequent

  paragraphs herein.

          Defendant's acts, omissions, failures and conduct that are described in this

  petition violate Section 542 of the Texas Insurance Code. Within the timeframe required




                                           Page 7 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 19 of 34




  after the receipt of either actual or written notice of Plaintiffs' claim, Defendant did not

  retluest from Plaintiffs any items, statements, and fonns that it reasonably believed at that

  time would be required from Plaintiffs for their claim. As a result, Defendant lias

  violated Sectlon 542 by failing to accept or reject Plaintiffs' claim in writing within the

  statutory timeframe. Defendant also violated Sectiori 542 by failing to pay Plaintiffs'

  claini within tlie applicable statutory period. ln addition, in the event it is detertnined that

  Defendant owes Plaintiffs any additional monies on Plaintiffs' claim, then Defendant lias

  automatically violated Section 542 in this case.

  C. DTPA Cause of Action

          Plaintiffs realleges and incorporates by reference all previous and subsequent

  paragraphs herein.

          Plaintiffs incorporates all the allegations in this petition for this cause of action

  against Defendant under the provisions of the DTPA. Plaintiffs are consumers of goods

  and services provided by Defendant pursuant to the DTPA. Plaintiffs have met all

  conditions precedent to bringing this cause of action against Defendant. Specitically,

  Defendant's violations of the DTPA include, witliout limitation, the following matters:

          By its acts, omissions, failures, and conduct that are described in tlus petition,

  Defendant has violated Sections 17.46 (b)(2), (5), (7), (9), (12) and (24) of the DTPA. In

  this respect, Defendant's violations include, without limitation, (1) its unreasonable

  delays in the investigation, adjustment and resolution of Plaintiff's claim, (2) its failure to

  give Plaintiffs the benefit of the doubt, and (3) its failure to pay for the proper repair of

  Plaintiffs' home on wliich liability had become reasonably clear.




                                             Page 8 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 20 of 34




          As described in this petition, Defendant represented to Plaintiffs that its insui-atice

  policy and Defendant's adjusting and investigative services had cliaracteristics or benefits

  that it did not have, which gives Plaintiffs the right to recover under Section '17.46 (b)(5)

  of the DTPA;

          As described in this petition, Defendaiit represented to Plaintiffs that its insurance

  policy and Defendant's adjusting and investigative services were of a particular standard,

  quality, or grade when they were of another in violation of Section 17.46 (b)(7) of the

  DTPA;

          As described in this petition, Defendant advertised its insurance policy and

  adjusting and investigative services with intent not to sell them as advertised in violation

  of Section 17.46 (b)(9) of the DTPA;

          A.      As described in this petition, Defendant represented to Plaintiffs that its

                  insurance policy and Defendant's adjusting and investigative services

                  conferred or involved rights, remedies, or obligations that it did not have,

                  which gives Plaintiffs the right to recover under Section 17.46 (b)(12) of

                  the DTPA;

          B.      As described in this petition, Defendant failed to disclose infonnation

                  concerning goods or services which were known at the time of the

                  transaction and such failure to disclose was intended to induce Plaintiffs

                  into a transaction into which the Plaintifffs would not have entered llad the

                  infonnation been disclosed, wtlich gives Plaintiffs the right to recover

                  under Section 17.46 (b)(24) of the DTPA;




                                            Page 9 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 21 of 34




         C.      Defendant has breached an express warranty that the damage caused by

                 Hurricane Ike would be covered under the insurance policies. This breach

                 entitles Plaintiffs to recover under Sections 17.46 (b)(12) and (19) and

                 17.50 (a)(2) of the DTPA;

         C.      Defendant's actions, as described in this petition, are unconscionable in

                 that it took advantage of Plaintiffs' lack of knowledge, ability, and

                 experience to a grossly unfair degree. Defendant's unconscionable

                 conduct gives Plaintiffs the right to relief under Section 17.50(a)(3) of the

                 DTPA; and

         D.      Defendant's conduct, acts, omissions, and failures, as described in this

                 petition, are unfair practices in the business of insurance in violation of

                 Section 17.50 (a)(4) of the DTPA.

         All of the above-described acts, omissions, and failures of Defendant are a

  producing cause of Plaintiffs' damages that are described in this petition_ All of the

  above-described acts, omissions, and failures of Defendant were done knowingly aiid

  intentionally as those terms are used in the Texas Deceptive TTade Practices Act.

         D. Cause of Action for Unfair Insurance Practices

         Plaintiffs realleges and incorporates by reference all previous and subsequent

  paragraphs herein.

         Plaintiffs incorporates all the allegations in this petition for this cause of action

  against Defendant under the Texas Insurance Code_ Plaintiffs have satisfied all

  conditions precedent to bringin~ this cause of action. By its acts, omissions, failures, and

  conduct, Defendant has engaged in unfair and deceptive acts or practices in the business




                                          Page 10 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 22 of 34




 of insurance in violation of 541 of the Texas Insurance Code. Such violations include,

 without limitation, all the conduct described in this petition plus Defendant's

 unreasonable delays in the investigation, adjustment, and resolution of Plaintiffs' claim

  and Defendant's failure to pay for the proper repair of Plaintiffs' home on whictl liability

  liad become reasonably clear. They further include Defendant's failure to give Plaintiffs

  the benefit of the doubt. Specifically, Defendant is guilty of the following unfair

  insurance practices:

         A.      Engaging in false, niisleading, and deceptive acts or practices in the

                 business of insurance in this case;

         B.      Engaging in unfair claims settlement practices;

         C.      Misrepresenting to Plaintiffs pertinent facts or policy provisions relating to

                 the coverage at issue;

         D.      Not attempting in good faith to effectuate a prompt, fair, and equitable

                 settlement of claims submitted in which liability has became reasonably;

         E.      Failing to affirm or deny coverage of Plaintiffs' claim within a reasonable

                 time;

         F.      Refusing to pay Plaintiffs' claim without conducting a reasonable

                 investigation with respect to the claim; and

         G.      Failing to provide promptly to a policyholder a reasonable explanation of

                 the basis in the insurance policy in relation to the facts or applicable law

                 for the denial of a claim or for the offer of a company's settlement.

         Defendant has also breached the Texas Insurance Code when it breached its duty

  of good faitli and fair dealing. Defendant's conduct as described herein has resulted in

  Plaintiffs' damages that are described in this petition.


                                           Page 11 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 23 of 34




         All of the above-described acts, omissions, and failures of Defendant were done

  knowingly as that term is used in the Texas Insurance Code.

  E. Cause of Action for Breach of Duty of Good Faith and Fair Dealiug

          Plaintiffs realleges and incorporates by reference all previous and subsequent

  paragraphs herein.

          Plaintiffs incorporates all the allegations of the preceding paragraphs for this

  cause of action. By its acts, omissions, failures and conduct, Defendant has breached its

  common law duty of good faith and fair dealing by failing to pay the proper amounts on

  Plaintiffs' entire claim without any reasonable basis and by failing to conduct a

  reasonable investigation to determine whetlier there was a reasonable basis for this

  denial. Defendant has also breached this duty by unreasonably delayiug payment of

  Plaintiffs' entire claim and by failing to settle Plaintiffs' entire claim because Defendant

  knew or should have known that it was reasonably clear that the claim was covered.

  These acts, omissions, failures, and conduct of Defendant are a proximate cause of

  Plaintiffs' damages.

                                 VII. VVAIVER ANI2 ESTOPPEI.,

          Defendant has waived and is estopped from asserting any coverage defenses,

  conditions, exclusions, or exceptions to coverage not contained in any reservation of

  rights letter to Plaintiffs.

                                      V1II. IDAMAGES

          The above described acts, omissions, failures and conduct of Defendant has

  caused Plaintiffs' damages which include, witliout limitation, the cost to properly repair

  Plaintiffs' home and any investigative and engineering fees incurred in the claim.




                                          Page 12 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 24 of 34




  Plaintiffs are also entitled to recover consequential damages from Defendant's breach of

  contract. Plaintiffs are also entitled to recover the amouiit of their cla.ini plus an l 8% per

  annum penalty on that claim against Defendant as damages under Section 542 of the

  Texas Insurance Code, plus prejudgment interest and attorneys fees. All the daniages

  described in this petition are within the jurisdictional limits of the Court

                               dX. ADDITI®NAL DAN9AGES

          Defendant has also "knowingly" and "intentionally" committed deceptive trade

  practices and unfair insurance practices as those ten-ns are defined in the applicable

  statutes. Because of Defendant's knowing and intentional misconduct, Plaintiffs' are

  entitled to additional damages as autliorized by Section 17.50(b)(I) of the DTPA.

  Plaint.iffs' are further entitled to the additional damages that are authorized by Section

  541 of the Texas Insurance Code.

                                    X. EXEMPLARY DAMAGES

         Defendant's breach of its duty of good faitli and fair dealing owed to Plaintiffs

  was done intentionally, with a conscious indifference to the rights and welfare of

  Plaintiffs, and with "malice" .as that term is defined in Chapter 41 of the Texas Civil_

  Practice and Remedies Code. These violations by Defendant are the type of conduct

  which the State of Texas protects its citizen against by the imposition of exemplary

  damages. Therefore, Plaintiffs seeks the recovery of exemplary damages in an aniount to

  be determined by the finder of fact that is suff'icient to punish Defendant for illeir

 1A7ongful conduct and to set an example to deter Defendant and othei-s similarly situated

  from comniitting similar acts in the future.




                                           Pagc 13 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 25 of 34




                                  AI. ATTOlU\TEYS' FEES

         As a result of Defendant's conduct that is described in this petition, Plaintiffs liave

  been forced to retain the undersigned attorneys to prosecute tliis action and have agreed

  to pay reasonable attorneys' fees. Plaintiffs are entitled to recover these attoriieys' fees

  under Cliapter 38 of the Texas Civil Practices and Reniedies Code, Sections 541 and 542

  of the Texas hisurance Code, and Section 17.50 of the DTPA.

                            XII. REOUEST FOId ®ISCLOSUlaE

          Defendant is hereby recluested to disclose, within fifty (50) days of service of this

  petition and incorporated request, the information or material described in Rule 194.2(a)-

  (1) of the Texas Rules of Civil Procedure.

                                        XIII. P1tAYEIt

          WHEREFORE, PREMISES CONSiDERED, Plaintiffs prays that Defendant be

  cited to appear and answer herein, and that upon trial hereof, said Plaintiffs have and

  recover such sums as would reasonably and justly conipeiisate them in accordance with

  the rules of law and procedure, both as to actual damages, consequential damages, treble

  damages under the Texas Insurance Code and Texas Deceptive Trade Practices Act, and

  all punitive, additional, and exeniplary damages as may be found. In addition, Plaintiffs

  requests the award of attorney's fees for the trial and any appeal of this case, for all costs

  of court, for prejudgment and post judgment interest as allowed by law, and for any other

  and further relief, at law or in ecluity, to which they may show tliemselves to be justly

  entitled.

                                 [signature block on followiiig page]




                                           Page 14 of 15
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 26 of 34




                              Respectfully submitted,


                              THE LAV4' OFFICES OF JOE M. WYLLIAMS
                              & ASSOCIATES, PLLC

                              133 N. Friendswood Drive, Suite 152
                              Friendswood, Texas 77546
                              (281) 923-3000 (Telephone)
                              (832) 827-4306 (Facsimile)

                             By:    /s/ Joe M. Willicrms
                                    JOE M. WILLIAMS
                                    Texas State Bar Number 24063066
                                     ;:S?Il:~ir.})1~
                                    ...  _.          li}~i7~'~:'L?E:'i~it~.L::4rli
                                                             _~:-..       .... ..

                             ATTORIVEY FOR PLAINTIFFS




                               Page 15 of 15
           Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 27 of 34                                                                                          9/26/2019 3:30 PM
                                                                                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                                                                                    Envelope No. 37162802
                                                                                                                                                                     By: KATINA WILLIAMS
                                                                                                                                                                   Filed: 9/26/2019 3:30 PM

                                                                        CAUSE NO.                     201961939

                                                                        RECEIPT NO.                                             0.00             ClV
                                                                                             ********'**                               TR if 7366'7409
           PLAINTIFF: REISSIG, RICHlIRD                                                                                    In The   152nd
                    ITS.                                                                                                   Judicial District Court
           DEFENDANT: STATE FARM LLOYDS                                                                                    pf Harris County, Tel;:as
                                                                                                                           152ND DISTRICT COURT
                                                                                                                           HoustOn, TX
                                                                                       CITATlON




                                                                                                                                         k
           THE sTATE OF TEXAS




                                                                                                                                      ler
           County of Harris




                                                                                                                                   tC
           TO: STATE FARM LLOYDS BY SERVING ITS REGISTERED AGENT FOR SERVICE




                                                                                                                               ric
               cORPORATION SERVICE COMPANY
               211 E 7TH STREET    AUSTIN TX '78701 - 3218




                                                                                                                            ist
               Attached is a copy of PLAINTIFF'S QRIGINAL PETITION WITH DISCOVERY ATTACHED




                                                                                                                         sD
           This instrument was filed on the 30th day 9f August, 2019, in th", abov~ Cited oa\)$e nUmber
           and court. The instrument attached describes the claim against you.

                YOU HAVE BEEN SUED, You may employ an attorney. If you or




                                                                                                                       es
           written answer with the District Clerk who issued this citation
           next follOWing the expiration of 20 days after you were served




                                                                                                                   rg
           a default judgment may be taken against you.
           TO OFFICER SERVING:
                 This oitation was issued on 5th ciay of September, 2019, under my hand and
           seal of said Court.
                                                                                                             Bu
                                                                                                      n
                                                                 ••••.. ••• --._,,"-                  <AV\      A ~~
                                                           4 ~~-~~~~;.;;>..                            I'    ,"'--1-
                                                         {~a/~it:i'(                   .\:. 'i>\
                                                                                                ily

           Issued at request of:                                                                      MARILYN BURGESS, District Clerk
           WILLIAMS, JOE MICAH
                                                                                          ·.1 ~li,l   H2aOrlriSc.ounty, T",xas
                                                                                        ar


           9555 W.sAM HOUSTON PKWY                       '~.                            . ~'                           Houston, Texas 77002
           S.,gTE. 100                                                 -;          ./(»"j              (P.O. Box         Houston, Teltas 77210)
                                                                            ".,_ #"
                                                                            M



           HOUSTON, TX 77099
           Tel: (713) 255-1166                                         ~~~/Generated By: CUERO, NELSON                                   7MM/111316874
           Bar Nc.: 240630~6
                                                                   of




                                                          OFFICER/AUTHORIZED PERSON RETURN
                                                           e




           Came to' hand at    1'.f)O      o vc l.ock   A·M.,               on the              j.2.._      day of     2.f!J.feftY1ber          ' ~
                                                   ffic




           Executed at           QJI £11-l1~-t. #lzZtJ Au stiilz ,rfi1Dr
                           (addz'es   s)                                                                                                                 in

                 --r-fn VI $      Count.y at lP!!Z o'clock                               .. @1~-«<-
                                                           A·M., on :he ..lla: day of Y.tyy.
                                              O




__   ,.~ . . _A.QL1/~ delivering tc~ fd tW\ LiO'lct5 ~/f?~lJJt}.!·~:~l~d~r:J:'Df!f[(()rn,~\)i('{                                                                       (O~P~
                                          y
                                       op




           j;:r\le <:9PY of this Cit~tion tqg!]!ther With the. acco1l1panying __                                          copyUes)       of the l>etition
                                C




           ant.ached theretO' and I endorsed on said copy of the citaticn the date of delivery.

          r!\j CMmCh~b\q-61 ~O :HOC6~Y 42210::t3gSS
                           ial




           FEE:   $..:10:_
                      fic
               of




         ~~~3al~Id-O
             Un




                                                                                                      B',.....,....,.,.~~~~~~

          On this day,   H~.r             &rl::
          signature appears on the foregoing return,
                                                                   , known to me to be the person "hose
                                                      personally appeare4,~ ,;After being Py me duly sworrr,
           ne/she stated that this citaticn was executed by him/her in the exact manner recited cn the
           return.
           SWORN TO AND SUBSCR!BED BEFORE ME, on




                                                                             *73667409*
Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 28 of 34



     SENDER: COMPLETE THIS SECTION
     • Complete items 1, 2, and 3.
     • Print your name and address on the reverse
       so that we can return the card to you.
                                                         x
                                                         8.                              of Delivery .
     • Attach this card to the back of the mallplece,
       or on the front if

    S\.~{ e.~::~tL, 6<jds
                                                                                         Yes
                                           c: Jo                                       ONo

      CORPORATION SERVICE COMPANY
          211 E. 7th STREET., #620




                                                                          k
                                                                       ler
                                                                     C
         111.IIM~lmlliil m~111111                                        o Priority Mail EXpiwS®
                                                                         o Registered Mail™
                                                                         o Registered Mail Restrl.cted




                                                                  ict
                                                                          . Defivery
           9590 9402 4679 8323 4967 39                                   o Return Receipt for
                                                                           Merchandise




                                                                    r
                                                                         o Signature Confirrnatlon™




                                                                 ist
                                                                         nSlgnature Confirmation
                                                                           Restricted Delivery
      7019 0140 0000 4210 8355




                                                              sD
    : P$ Form 3811. July 2015 PSN 7530-02-000-9053                      Domestic Return Receipt 1




                                                             es
                                                        rg
                                                        Bu
                                                   n
                                               ily
                                           ar
                                       M
                                   of
                                e
                           ffic
                  yO
                op
            C
        ial
     fic
  of
Un
      Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 29 of 34                              10/4/2019 4:35 PM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 37408809
                                                                                                            By: Lisa Thomas
                                                                                                  Filed: 10/4/2019 4:35 PM

                                    CAUSE NO. 2019-61939

RICHARD REISSIG AND                              §            IN THE DIST5RICT COURT OF
CAROLYN REISSIG                                  §
                                                 §
VS.                                              §                  HARRIS COUNTY, TEXAS
                                                 §
STATE FARM LLOYDS                                §                152ND JUDICIAL DISTRICT

              DEFENDANT STATE FARM LLOYDS’ ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant, STATE FARM LLOYDS (hereinafter, “State Farm”), files its Original Answer

to the allegations contained in Plaintiffs’ Petition, and all subsequent amended or supplemental

petitions filed against it and would show as follows:

                                            I.
                                      GENERAL DENIAL

       1.      State Farm generally denies all of the material allegations contained in Plaintiffs’

Original Petition, and any amendments thereto, and demands strict proof thereof as allowed under

the laws of the State of Texas. By this general denial, State Farm would require Plaintiffs to prove

every fact to support the claims in Plaintiffs’ Original Petition, and any amendments thereto, by a

preponderance of the evidence.

                                              II.
                                           DEFENSES

       2.      Policy Coverage Provisions. Under the Insuring Agreement, Plaintiffs bear the

burden to prove damage resulting from an occurrence of accidental direct physical loss to the

insured property during the policy period. Plaintiffs lack proof that any additional damages

resulted from any accidental direct physical loss during the policy period.
     Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 30 of 34



        3.         Payment. State Farm is entitled to an offset or credit against Plaintiffs’ damages,

if any, in the amount of all payments State Farm has made to or on behalf of Plaintiffs under the

Policy in connection with the damages and the insurance claim that give rise to Plaintiffs’ claims

in this lawsuit.

        4.         Deductible/Offset. State Farm is entitled to on offset or credit against Plaintiffs’

damages, if any, in the amount of Plaintiffs’ deductible.

        5.         Limit of Liability. State Farm’s liability, if any, is limited to the amount of the

Policy limits under the subject Policy, pursuant to the “Limit of Liability” and other clauses

contained in the Policy sued upon.

        6.         Recovery Limitations. Pursuant to the following provisions of the Policy,

Plaintiffs’ entitlement to recover the Dwelling coverage of the Policy is subject to the following

terms, conditions, and limitations:

                                        COVERAGE A – DWELLING

        We insure for accidental direct physical loss to the property described in Coverage A,
        except as provided in SECTION I – LOSSES NOT INSURED.

        There is no coverage for the replacement of undamaged shingles since there is no accidental
        direct physical loss.

        7.         Bona Fide/Legitimate Dispute.        A bona fide and legitimate dispute exists

precluding Plaintiffs’ recovery of damages under extra-contractual theories including the common

law duty of good faith and fair dealing, and for violations of the Texas Insurance Code or any other

statutory or common law authority.

        8.         No Waiver. Plaintiffs’ claims are barred, in whole or in part, because State Farm

did not waive any of its rights under the Policy. The Policy states: “A waiver or change of any
     Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 31 of 34



provision of this policy must be in writing by [State Farm] to be valid. State Farm made no such

waiver in this case.

       9.      Cap on Punitive Damages. Texas Civil Practice and Remedies Code § 41.001, et.

seq., applies and punitive damages awarded, if any, are subject to the statutory limit set forth

therein, other applicable statutory authority, and common law. Further, unless Plaintiffs prove

State Farm’s liability for punitive damages, and the amount of punitive damages, if any, by clear

and convincing evidence, any award of punitive damages would violate State Farm’s due process

rights guaranteed by the Fourteenth Amendment to the United States Constitution and by Section

19 of Article 1 of the Texas Constitution.

       10.     Written Notice of Claim. State Farm specifically denies that Plaintiffs provided

it with “notice of claim” pursuant to §§ 542.051(4) and 542.055(a) of the Texas Insurance Code.

The statute specifically states “‘[n]otice of a claim’ means any written notification provided by a

claimant to an insurer that reasonably apprises the insurer of the facts relating to the claim.” TEX.

INS. CODE § 542.051(4). Because written notification was not provided by Plaintiffs, they are

barred from recovering under Chapter 542 of the Texas Insurance Code. State Farm also

specifically denies that the Policy obligated State Farm to inform Plaintiffs that written notice of

the claim was required, and State Farm specifically denies that it was under any duty to provide

notice regarding the applicability of Chapters 541 or 542 of the Texas Insurance Code.

       12.     Chapter 542A. State Farm asserts the limitations on the recovery of attorneys’

fees, if any, as per TEX. INS. CODE § 542A.007.

                                            III.
                                      RIGHT TO AMEND

       13.     State Farm reserves the right to amend this Original Answer pursuant to the Texas

Rules of Civil Procedure.
     Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 32 of 34



                                             IV.
                                        JURY DEMAND

       14.     State Farm demands a trial by jury pursuant to Texas Rule of Civil Procedure 216.

       WHEREFORE, PREMISES CONSIDERED, Defendant, STATE FARM LLOYDS,

respectfully requests that upon final trial and hearing hereof, that Plaintiffs take nothing and that

Defendant recover its costs, fees, and expenses, and for such other further relief to which

Defendant may show itself to be justly entitled, both in law and at equity.

                                              Respectfully submitted,

                                              GERMER PLLC


                                              By:____________________________
                                                    DALE M. “RETT” HOLIDY
                                                    State Bar No. 00792937
                                                    LAUREN N. HERRERA
                                                    State Bar No. 24092720
                                                    America Tower
                                                    2929 Allen Parkway, Suite 2900
                                                    Houston, Texas 77019
                                                    (713) 650-1313 – Telephone
                                                    (713) 739-7420 – Facsimile
                                                    rholidy@germer.com
                                                    lherrera@germer.com

                                              ATTORNEYS FOR DEFENDANT,
                                              STATE FARM LLOYDS
     Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 33 of 34



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served on
all counsel of record on this 4th day of October, 2019.

       Joe M. Williams                                                      VIA E-FILE
       THE LAW OFFICES OF JOE M. WILLIAMS
       133 N. Friendswood Drive, Suite 152
       Friendswood, Texas 77546
       jwilliams10050@gmail.com



                                                     DALE M. “RETT” HOLIDY
             Case 4:19-cv-03938 Document 1 Filed on 10/10/19 in TXSD Page 34 of 34
                                     Harris County Docket Sheet


2019-61939
COURT: 152nd
FILED DATE: 8/30/2019
CASE TYPE: Insurance

                                   REISSIG, RICHARD




                                                                                 k
                                 Attorney: WILLIAMS, JOE MICAH




                                                                              ler
                                              vs.




                                                                           tC
                                 STATE FARM LLOYDS




                                                                       ric
                                 Attorney: HOLIDY, DALE MARETT




                                                                    ist
                                                                 sD
                                     Docket Sheet Entries
         Date        Comment




                                                                 es
                                                            rg
                                                        Bu
                                                     n
                                                  ily
                                               ar
                                           M
                                        of
                                     e
                                 ffic
                              yO
                           op
                        C
                      ial
                   fic
                  of
                Un




2019-61939                                                                               Page 1 of 1

152                                                                            10/10/2019 1:54:56 PM
